          Case
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     Benjamin C. Durham (7684)
 1
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 2   601 S. 10th St.
     Las Vegas, Nevada 89101
 3   (702) 631-6111
     Attorney for Defendant
 4
                                    UNITED STATES DISTRICT COURT
 5
                                           DISTRICT OF NEVADA
 6

 7
                                                       CASE NO: 2:17-CR-146-APG-NJK
 8   UNITED STATES OF AMERICA,

 9                                                      UNOPPOSED MOTION FOR PRE-PLEA
                   Plaintiff,
                                                      PRESENTENCE INVESTIGATION REPORT &
     v.
10                                                             PROPOSED ORDER
11   ALEJANDRO ROJAS,
12                 Defendant.
13

14

15          Defendant ALEJANDRO ROJAS, by and through his attorney Benjamin C. Durham, moves the
16
     court to order a pre-plea presentence investigation report. Mr. Rojas may have prior convictions that
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     would impact his sentencing exposure and plea negotiations; the convictions could result in a sentencing
18
     disparity of several years in prison. The presentence report will promote judicial economy and assist in
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20   the resolution of this case. Undersigned counsel respectfully requests an order that the Probation

21   Department conduct a pre-plea presentence investigation report. Counsel has spoken with Assistant
22
     United States Attorney Brandon Jaroch and he does not oppose this request.
23
            DATED this 31st day of March, 2018.
24
                                                               /s/ Benjamin Durham________
25
                                                               Benjamin C. Durham
26                                                             Nevada Bar No. 7684
                                                               601 S. 10th St.
27                                                             Las Vegas, Nevada 89101
                                                               (702) 631-6111
28
                                                               Attorney for Defendant



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          Case
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 5
                                UNITED STATES DISTRICT COURT
 6
                                       DISTRICT OF NEVADA
 7

 8   UNITED STATES OF AMERICA,                    CASE NO: 2:17-CR-146-APG-NJK
 9
                  Plaintiff,
                                                                     ORDER
10   v.
11   ALEJANDRO ROJAS,
12
                  Defendant.
13

14
           IT IS HEREBY ORDERED that the Probation Department prepare a pre-plea presentence
15
     investigation report for Defendant ALEJANDRO ROJAS.
16

17
                        2 day of April, 2018.
           DATED this _____

18

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                                                           __________________________________
20                                                         DISTRICT COURTDISTRICT
                                                           UNITED STATES    JUDGE JUDGE

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